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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
MOHAMMAD OMAR FAROQUE,                :
                                      :
                      Plaintiff,      :
                                      :              19 Civ. 10608 (VM)
     - against -                      :                   ORDER
                                      :
LENOX ROOM CORP., et al.,             :
                                      :
                      Defendants.     :
--------------------------------------X
VICTOR MARRERO, United States District Judge.

     The conference currently scheduled for Friday, January 29,

2021 at 2:00 p.m. is hereby canceled. The joint letter and case

management plan that the Court previously directed the parties to

submit (see Dkt. No. 21) is hereby due by February 12, 2021.


Dated:      January 28, 2021
            New York, New York

                                     ___________________________
                                              Victor Marrero
                                                 U.S.D.J.
